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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 22-80144-CR-Smith(s)(s)(s)



   UNITED STATES OF AMERICA

   v.

   MAURICE SHAZIER,

          Defendant.


                       GOVERNMENT’S SENTENCING MEMORANDUM

         The United States respectfully recommends that the Court sentence defendant Maurice

 Shazier at the high end of the Guidelines incarceration range.

         At sentencing, the Court must calculate a defendant’s Guidelines incarceration range and

 then impose sentence in light of the factors set out in Title 18, United States Code, Section 3553(a).

 See generally United States v. Henry, 1 F.4th 1315, 1323 (11th Cir. 2021); U.S.S.G. § 1B1.1(c). Shazier’s

 Guidelines range is 30–37 months. D.E. 523 ¶ 160. In light of all the statutory sentencing factors,

 a sentence at the high end of the range is appropriate.

                                      Seriousness of the offense

         The statutory factors include “the nature and circumstances of the offense” and “the need

 for the sentence imposed . . . to reflect the seriousness of the offense, to promote respect for the law,

 and to provide just punishment for the offense.” 18 U.S.C. § 3553(a)(1), (a)(2)(A). Shazier’s offense

 was serious. He attempted to steal almost a million dollars and actually stole more than half a

 million. D.E. 563 ¶ 83 (intended loss of $923,628, actual loss of $573,528); see also D.E. 541 at 7
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 n. 4 (discussing loss calculations). Those are very large sums of money. However, Shazier’s crime is

 more serious than suggested by the dollar figures alone, serious as they are. That is so because of the

 nature of the programs he defrauded. The COVID-relief EIDL program and the PPP were designed

 to provide relief to small businesses during the COVID pandemic, which had the potential to create

 an economic catastrophe. See generally D.E. 511 at 45, 62, 109–110; D.E. 563 ¶¶ 10–15.

 Furthermore, at different times both the PPP and the EIDL program ran out of money; at that point,

 the programs could not make more loans, until Congress allocated more funding. D.E. 511 at 47–

 48, 110. In other words, Shazier stole from a program designed to prevent layoffs and provide relief

 to small businesses during a public health catastrophe, and his theft reduced the funds available for

 legitimate businesses’ loans. This very serious conduct requires a correspondingly severe sentence.

         In his motion for variance, Shazier argues that the seriousness of his crime was mitigated by

 the fact that “he was deceived by [co-defendant Joff] Philossaint about whether his conduct was

 unlawful.” D.E. 556 at 5. However, Shazier does not cite or proffer any evidence in support of this

 allegation. The allegation is refuted by Philossaint’s WhatsApp communications with Shazier, in which

 Philossaint openly informs Shazier that he can qualify for an EIDL MOD only if he submits a fraudulent

 tax return to the Small Business Administration (“SBA”). D.E. 484-1 (GX 155) at 16. It is also refuted

 by the jury’s verdict, finding Shazier guilty of knowing fraud.

         Shazier also argues that he owned “an actual legitimate business as opposed to a fictional

 business” and that he invested his loans in his construction business. D.E. 556 at 6. Once again, he fails

 to cite or proffer the evidence on which relies. Sunrise City Construction Development LLC had

 approximately $490,000 in revenue in 2019, so it appears to have been an operational company.

 D.E. 495-6 (GX 171r). However, Jream Vision T.V. LLC had only $5,400 in revenue. D.E. 495-13

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 (GX 173r). Therefore, Jream T.V. is better characterized as “fictional” than as “actual” or “legitimate.”

 Furthermore, although use of a non-operational business to commit loan fraud is more brazen than use

 of an operational business, Shazier still used his businesses to steal more than half a million dollars from

 the American taxpayers, at a time when other actual legitimate businesses needed the same funds. That

 fact makes his fraud extremely serious, regardless of whether his businesses were legitimate or fictional.

                                                Deterrence

         Shazier’s sentence must also reflect the need “to afford adequate deterrence to criminal

 conduct.” 18 U.S.C. § 3553(a)(2)(B). Because of the potential for economic catastrophe during the

 pandemic, the Paycheck Protection Program and the EIDL program were designed to make it easy

 for small businesses to apply for and receive loans quickly. However, that design also made it easier

 for unscrupulous criminals like Shazier to defraud these programs. See U.S. Gov’t Accountability

 Office, GAO-23-105331, COVID Relief: Fraud Schemes and Indicators in SBA Pandemic Programs at 17

 (“[B]ecause the government needed to provide funds and other assistance quickly to those affected

 by COVID-19 and its economic effects, federal relief programs—including those implemented by

 SBA—were vulnerable to significant risk of fraudulent activities.”). In this unique context, where the

 urgency of the situation required the government to dispense with some safeguards, the need for

 deterrence is correspondingly greater. Indeed, the Eleventh Circuit has recently upheld an upward

 variance in a case of COVID-loan fraud, based primarily on the need for deterrence. As the court of

 appeals explained,

         While the federal program [the defendant] bilked no longer exists, deterring fraud
         and other crimes against future multi-billion dollar government programs remains
         an important sentencing goal. As we had occasion to comment recently, “Like bears
         to honey, white collar criminals are drawn to billion-dollar government programs.”


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          The crimes are serious and the monetary losses are large . . . . The need for deterrence
          of government fraud crimes is great.

 United States v. Oudomsine, 57 F.4th 1262, 1268 (11th Cir. 2023) (quoting United States v. Howard,

 28 F.4th 180, 186 (11th Cir. 2022)). The government is not seeking an upward variance here. But

 the considerations discussed in Oudomsine support a sentence at the high end of the Guidelines

 incarceration range.

                                 Unwarranted Sentencing Disparities

          Another statutory factor is “the need to avoid unwarranted sentence disparities among

 defendants with similar records who have been found guilty of similar conduct.” 18 U.S.C. § 3553(a)(6).

 As we pointed out in our response to Shazier’s objections to the presentence report, see D.E. 541 at 18,

 Shazier is more culpable than Andre Johnson, a defendant in a related case. With Philossaint’s assistance,

 Johnson applied for fraudulent loans on behalf of one company, D.E. 523 ¶ 82, whereas Shazier applied

 on behalf of two companies that are included in his loss calculation. Johnson applied for and received

 three fraudulent loans, D.E. 523 ¶ 25, whereas Shazier applied for five, and received four, that are

 included in his loss calculation. Johnson caused a loss, actual and intended, of $443,802, D.E. 82,

 whereas Shazier caused an actual loss of $573,528 and an intended loss of $923,628. And, perhaps most

 important, Johnson pled guilty to an information, accepting responsibility for his actions at an early

 stage, whereas Shazier went to trial. Despite all these mitigating factors, Johnson was sentenced to 24

 months’ incarceration, before receiving credit for his cooperation. D.E. 523 ¶ 7. In order to avoid an

 unwarranted disparity between Shazier’s sentence and Johnson’s, Shazier must be sentenced to a term

 of incarceration considerably longer than Johnson’s. For this reason among others, the government

 recommends that Shazier be sentenced to 37 months’ incarceration, at the high end of the Guidelines

 range.
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         Shazier argues that he should receive a sentence “substantially less” than that of Philossaint, who

 was sentenced to 50 months’ incarceration. D.E. 556 at 6. The government agrees that Philossaint, one

 of two organizers of the fraud, was more culpable than Shazier. However, the difference between them

 should not be exaggerated. Shazier is not just one of Philossaint’s many clients. Philossaint prepared

 fraudulent applications seeking $5,205,654.01 in fraudulent loans. D.E. 563 ¶ 80. Of that total,

 Shazier’s loans accounted for $923,628, or approximately18%. D.E. 563 ¶ 83. That is a significant

 portion of the loss for a single client. Furthermore, Shazier kept the bulk of the proceeds of his fraudulent

 loans; he only paid Philossaint kickbacks of approximately 10%. And Philossaint pled guilty to fraud and

 money laundering; the Court has commented previously that Philossaint only went to trial in an effort

 to keep his citizenship. By contrast, Shazier’s citizenship was in no danger, but he nevertheless went to

 trial, on all counts. Therefore, a sentence of 37 months’ incarceration, more than Johnson’s sentence

 but less than Philossaint’s, is appropriate.

         WHEREFORE, the government respectfully recommends that the Court sentence Shazier

 at the high end of his Guidelines incarceration range.

                                                      Respectfully submitted,

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